      Case 2:09-cr-00373-SSV-DEK            Document 339      Filed 03/21/12     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                    NO. 09-0373

EARL JOHNSON                                                               SECTION “K”



                                     ORDER AND OPINION

        Before the Court is federal prisoner Earl Johnson’s letter, dated January 10, 2012.1 The

Court construes Johnson’s letter as a motion to award prior custody credit against his federal

sentence. Having reviewed the pleadings, memoranda, and relevant law, it is clear that the

movant is not entitled to relief. Accordingly, the motion is DENIED.

I.      BACKGROUND

        In May 2009, state law enforcement officials arrested Earl Johnson on drug charges.

Although the state nolle prossed its charges against Johnson in November 2009, the U.S.

Attorney’s Office adopted the case and charged him with two violations of the Federal

Controlled Substances Act. Johnson subsequently pleaded guilty to the federal charges, and in

January 2011, this Court sentenced him to a 120–month term of imprisonment as to Count Seven

and a 96–month term of imprisonment as to Count Twelve. The Court ordered the two federal

sentences to run concurrently. Johnson is currently in federal custody.

II.     LAW AND ANALYSIS

        Issues regarding prior custody credit are governed by 18 U.S.C. § 3585. Under §3585(b),



        1
         The letter is attached hereto as Ex. 1.

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       Case 2:09-cr-00373-SSV-DEK         Document 339         Filed 03/21/12      Page 2 of 2




a prisoner may receive credit against his federal prison term for any time spent in official

detention prior to the commencement of his sentence “that has not been credited against another

sentence.” Leal v. Tombone, 341 F.3d 427, 428 (5th Cir. 2003). However, only the Attorney

General, through the Bureau of Prisons (BOP), may compute a prisoner’s credits. Pierce v.

Holder, 614 F.3d 158, 160 (5th Cir. 2010) (citing United States v. Wilson, 503 U.S. 329, 334–35,

112 S.Ct. 1351 (1992)). Until the BOP makes a final determination with respect to the prisoner’s

credits, there is no case or controversy ripe for judicial review. Id. Therefore, Johnson must

exhaust his administrative remedies before challenging his prior custody credits in federal court.

III.     CONCLUSION

         For the foregoing reasons, petitioner's motion is DENIED.

         New Orleans, Louisiana, this 21st
                                      ___ day of March, 2012




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                                                               STANWOOD R. DUVAL, JR.
                                                            UNITED STATES DISTRICT
JUDGE




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